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                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY
                                                 (973) 776-7700
            CHAMBERS OF                                                                      U.S. COURTHOUSE
    JAMES B. CLARK, III                                                                  50 WALNUT ST. ROOM 2060
UNITED STATES MAGISTRATE JUDGE                                                               NEWARK, NJ 07102




                                                  April 11, 2022

                                                LETTER ORDER

      Re:      Morales v. Healthcare Revenue Recovery Group, LLC et al.
               Civil Action No. 15-8401 (ES)

      Dear Counsel:

      As discussed during the telephone conference held in this matter earlier today, and for the reasons

  set forth on the record, the Court orders the following:

      1. Regarding the disputed discovery items listed in bullet points on the first page of the parties’

            joint letter to the Court filed on March 18, 2022 [ECF No. 156]:

               a. Defendant shall produce the following items to Plaintiff by no later than May 31, 2022:

                           i. The account notes of class members (First Bullet Point);

                          ii. The declarations page of the applicable insurance policy (Fourth Bullet Point);

                              and

                          iii. Defendant’s written policy regarding: (1) internal reference numbers (Sixth

                              Bullet Point) and (2) telephone calls with consumers (Seventh Bullet Point).

               b. Plaintiff’s requests for the following items are DENIED without prejudice: the

                    software manuals (Second Bullet Point); Defendant’s document retention policy (Third

                    Bullet Point); Defendant’s financial statements and balance sheets (Fifth Bullet Point);

                    and the website data regarding internal reference numbers (Eighth Bullet Point).

      2. Plaintiff shall file the motion for class certification by no later than thirty (30) days after the
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      receipt of the above-referenced documents from Defendant.

   3. The Court will conduct a telephone status conference with the parties on August 31, 2022 at

      10:30 AM. Counsel for Plaintiff shall initiate the call.


   IT IS SO ORDERED.

                                                        s/ James B. Clark, III
                                                    JAMES B. CLARK, III
                                                    United States Magistrate Judge
